Case 21-03020-sgj Doc 109-4 Filed 09/10/21   Entered 09/10/21 20:50:57   Page 1 of 2




                         EXHIBIT 3




                                                                         UBSPO019
      Case 21-03020-sgj Doc 109-4 Filed 09/10/21           Entered 09/10/21 20:50:57              Page 2 of 2




                                                                           Direct Line: (386) 239-5750 (800) 877-2769 Ext. 8853



LAUREN A. CLARK
Subpoena Coordinator

                                                June 30, 2021

      VIA EMAIL (martin.sosland@butlersnow.com)

      Martin Sosland, Esquire
      Butler Snow, LLP
      2911 Turtle Creek Blvd., Suite 1400
      Dallas, TX 75219

               Re:     UBS Securities, LLC v Highland Capital Management, LP
                       Subpoena Duces Tecum

      Dear Mr. Sosland:

             In response to your non-party subpoena in the above-referenced matter, which we
      received on June 29, 2021, we are in the process of reviewing the request and conducting a
      search of the files of Beecher Carlson Insurance Services, Inc. We are objecting to time within
      which to respond. We estimate that it will take up to 45 days from the date we received your
      subpoena to complete our search. All other objections are specifically reserved.

             We will provide you with an invoice for the estimated cost of retrieval of any records
      responsive to your request. Upon receipt of payment, we will prepare the records and ship them to
      you. In the event that the records are no longer needed we ask that you notify us in writing as soon
      as possible.


                                                    Sincerely,

                                                    Lauren Clark
                                                    Lauren Clark

      LC:me




                                                                                                  UBSPO020
